USCA4Case
      Appeal: 19-4553   Doc: 14
          3:18-cr-00025-NKM-JCH    Filed: 08/23/2019
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                                                                    FILED: August 23, 2019

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                       ___________________

                                            No. 19-4553
                                   (3:18-cr-00025-NKM-JCH-3)
                                      ___________________

         UNITED STATES OF AMERICA

                     Plaintiff - Appellee

         v.

         THOMAS WALTER GILLEN

                     Defendant - Appellant

                                       ___________________

                                            ORDER
                                       ___________________

              The court relieves appellant's court-appointed counsel, David Anthony

        Eustis, from the obligation of further legal representation of appellant on appeal.

                                                For the Court--By Direction

                                                /s/ Patricia S. Connor, Clerk
